          CaseCase 1:09-md-02013-PACDocument
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UNITED STATES DISTRICT COURT                                               ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                              DOC #: _________________
---------------------------------- X                                       DATE FILED: Apr. 11, 2014
   UNITED STATES DISTRICT COURT
ST. PAUL MERCURY INSURANCE                                   :
   SOUTHERN
COMPANY,            DISTRICT      OF   NEW    YORK           :
   -----------------------------------------------------------x
                                                             :
   In re FANNIE      MAE 2008 SECURITIES
                 Plaintiff,                                  ::          08 Civ. 7831 (PAC)
   LITIGATION                                                ::          09 MD
                                                                       No.   12 2013
                                                                                  Civ.(PAC)
                                                                                        6322 (JFK)
         -against-                                           ::            OPINION & ORDER
                                                             ::         OPINION & ORDER
M&T-----------------------------------------------------------x
      BANK CORPORATION,                                      :
                                                             :
                 Defendant.                                  :
---------------------------------- X
M&THONORABLE          PAUL A. CROTTY, United States
      BANK CORPORATION,                                      : District Judge:
                                                             :
                 Third-Party Plaintiff,                      :       1
                                                  BACKGROUND :
        -against-                                            :
            The early years of this decade saw a boom        : in home financing which was fueled, among
THEODORE LIFTMAN INSURANCE, INC., :
   other things, by low interest rates and lax credit conditions.
                                                             :           New lending instruments, such as
                 Third-Party Defendant.                      :
   subprime mortgages (high credit risk loans) and X
----------------------------------                           Alt-A mortgages (low-documentation loans)

   kept the boom going. Borrowers played a role too; they took on unmanageable risks on the
Appearances

Forassumption
     St. Paul thatMercury
                   the market Insurance
                              would continueCompany
                                             to rise and that refinancing options would always be
       McELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
   available
       By: inRichard
              the future. S.
                          Lending discipline was lacking in the system. Mortgage originators did
                               Mills

Fornot
    M&TholdBank
            these high-risk
                  Corporationmortgage loans. Rather than carry the rising risk on their books, the
       HODGSON RUSS LLP
   originators
       By: sold     their loans
               Robert           into the Jr.
                           J. Lane,      secondary mortgage market, often as securitized packages

Forknown as mortgage-backed
    Theodore                 securities (“MBSs”).
                Liftman Insurance,          Inc. MBS markets grew almost exponentially.
      ADLER POLLOCK & SHEEHAN P.C.
      By:But John
             then theF.X.
                      housing bubble burst. In 2006, the demand for housing dropped abruptly
                            Lawler

  and home prices began to fall. In light of the changing housing market, banks modified their
JOHN F. KEENAN, United States District Judge:
  lending practices and became unwilling to refinance home mortgages without refinancing.
      By Opinion and Order dated February 19, 2014, this Court

granted summary judgment for Plaintiff St. Paul Mercury
    1
        Unless otherwise indicated, all references cited as “(¶ _)” or to the “Complaint” are to the Amended Complaint,
  dated June 22,Company
Insurance        2009. For purposes
                             and ofThird-Party
                                    this Motion, all allegations in the Amended
                                                         Defendant              ComplaintLiftman
                                                                          Theodore        are taken as true.



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Insurance, Inc. against Defendant and Third-Party Plaintiff M&T

Bank Corporation.       This Opinion resolves the parties’ dispute

over the attorney’s fees and costs owed to St. Paul by M&T Bank.

                               I.    Background

       The Court presumes familiarity with the facts of this

litigation, which are fully set forth in its February 19

Opinion. See St. Paul Mercury Ins. Co. v. M&T Bank Corp., No. 12

Civ. 6322, 2014 WL 641438 (S.D.N.Y. Feb. 19, 2014).            Briefly

stated, Plaintiff St. Paul Mercury Insurance Company (“St.

Paul”) brought the instant action against Defendant and Third-

Party Plaintiff M&T Bank (“M&T Bank” or “the Bank”) for

indemnification on the basis of a June 24, 2008 General Contract

of Indemnity (the “GCI”) between the parties.           M&T Bank later

filed a third-party complaint against Third-Party Defendant

Theodore Liftman Insurance, Inc. (“Liftman”), seeking

indemnification or contribution for any judgment won by

St. Paul.     Ultimately, the Court determined that the GCI was

enforceable against the Bank, such that it must reimburse St.

Paul for monies St. Paul paid out under a bond included in the

GCI.

       St. Paul also moved for attorney’s fees and court costs as

part of its summary judgment motion.          The Court ruled as

follows:



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     “Under the general rule in New York, attorneys’ fees
     are the ordinary incidents of litigation and may not
     be awarded to the prevailing party unless authorized
     by agreement between the parties, statute, or court
     rule.” Oscar Gruss & Son, Inc. v. Hollander, 337 F.3d
     186, 199 (2d Cir. 2003).    Here, St. Paul relies on a
     provision of the GCI that states M&T Bank’s promise to
     “indemnify and exonerate [St. Paul] from and against
     any and all loss, cost and expense of whatever kind
     which it may incur or sustain as a result of . . . the
     enforcement   of   this  Agreement,   including   unpaid
     premiums, interest, court costs and counsel fees.”
     (Aug. 23, 2013 Mills Dec. Ex. A.)        This provision
     makes “unmistakably clear” the parties’ intention to
     shift the responsibility for St. Paul’s court costs
     and attorney’s fees to M&T Bank in the event of the
     latter’s   breach.   Hooper   Assocs.,   Ltd.   v.   AGS
     Computers, Inc., 74 N.Y.2d 487, 492 (1989). M&T Bank
     does not argue to the contrary. See L&L Wings, Inc. v.
     Marco-Destin Inc., 756 F. Supp. 2d 359, 368 (S.D.N.Y.
     2010).   Accordingly, St. Paul’s motion is granted.
     Within fourteen days of the date of this Opinion, St.
     Paul is directed to submit records demonstrating its
     costs and fees in this matter, including the date, the
     hours expended, and the nature of the work done by
     each attorney.     Any response by M&T Bank must be
     submitted no later than fourteen days thereafter.

St. Paul Mercury Ins. Co., 2014 WL 641438, at *11.

     On March 5, 2014, counsel for St. Paul submitted a

declaration supporting its application.       According to this

declaration, St. Paul seeks:

  (1)   indemnification, as discussed, in the amount of

        $868,995.26;

  (2)   pre-judgment interest on the amount to be indemnified,

        totaling $172,620.39;




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  (3)   reimbursement for attorney’s fees incurred by counsel for

        St. Paul, the law firm McElroy, Deutsch, Mulvaney &

        Carpenter, LLP (“MDMC”), in the amount of $276,999.22;

  (4)   litigation expenses and costs, totaling $4,593.94;

  (5)   reimbursement for fees charged by St. Paul’s expert,

        Thomas B. Considine, in the amount of $62,860.00;

  (6)   reimbursement for the attorney’s fees and expenses paid

        by St. Paul to counsel for Liftman, the law firm Adler

        Pollock & Sheehan, P.C., in the amount of $99,028.17; and

  (7)   unspecified fees incurred preparing the instant fee

        application and litigating this matter on appeal.

(Mills Dec. at 11–12.)

     Notably, M&T Bank only disputes the propriety of the fifth

and sixth items above.     As to Considine, St. Paul’s expert, the

Bank urges that his fees are excessive and should be reduced.

The Bank also contends that neither this Court’s previous ruling

nor the GCI contemplate reimbursement of the attorney’s fees and

costs incurred by Liftman.

                            II.   Discussion

     The original amount of St. Paul’s payments to be

indemnified by M&T Bank ($868,995.26) is not in dispute.          Nor

has M&T Bank objected to St. Paul’s calculation of pre-judgment

interest ($172,620.39), nor to its request for attorney’s fees

incurred by MDMC ($276,999.22) and litigation expenses

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($4,539.94).    The application for those amounts is therefore

granted as unopposed.     The remaining items are discussed in turn

below.

                     A.    St. Paul’s Expert Fees

     Even where a court has previously decided that a party is

entitled to reasonable fees and costs, the burden remains on

that party to demonstrate that the amounts requested are

reasonable. See, e.g., Matteo v. Kohl’s Dep’t Stores, Inc., No.

09 Civ. 7830, 2012 WL 5177491, at *2 (S.D.N.Y. Oct. 19, 2012),

aff’d, 533 F. App’x 1 (2d Cir. 2013) (summary order).          It

follows that, where work is performed on an hourly basis, both

the hourly rate and the amount of time expended must be

reasonable.    In assessing the reasonableness of an expert

witness’s fees, the court should look to such factors as the

expert’s area of expertise and education; the prevailing rates

for comparable experts; and the nature and complexity of the

issues about which the expert’s insight was sought. See, e.g.,

Frederick v. Columbia Univ., 212 F.R.D. 176, 177 (S.D.N.Y.

2003); cf. Arbor Hill Concerned Citizens Neighborhood Ass’n v.

Cnty. of Albany, 522 F.3d 182, 190 (2d Cir. 2008) (in the

attorney’s fees context, the district court should “bear in mind

all of the case-specific variables that we and other courts have

identified as relevant”).     “In the face of very limited

evidence, a court may, in its discretion, simply apply an

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across-the-board reduction of expert’s fees.” Matteo, 2012 WL

5177491, at *5.

     In the instant matter, St. Paul seeks to recover fees

incurred by its expert, Thomas B. Considine, in the amount of

$62,860.00.    Considine prepared one expert report in connection

with St. Paul’s summary judgment motion in this case.          St. Paul

now contends that it only went to the expense of retaining

Considine after M&T Bank filed an expert report of its own.              St.

Paul further notes that it tried “to avoid incurring the expense

associated with obtaining an expert witness” by moving to strike

the Bank’s expert report, but that motion was denied by

Magistrate Judge Netburn. (Mills Dec. ¶ 32; see ECF Nos. 69–72.)

A review of Considine’s invoice confirms that he did not begin

billing St. Paul for services until July 9, 2014, which is

indeed subsequent to the preparation and filing of M&T Bank’s

expert report.

     M&T Bank argues that the fees incurred by St. Paul’s expert

are excessive.    The Bank contends that Considine’s fees totaling

$62,680.00 for one expert report are unreasonably high in light

of the fact that the Bank’s own expert, James P. Corcoran,

charged only $40,875.00 to prepare both an initial and

supplemental expert report.     Notably, the Bank does not

explicitly argue that Considine’s hourly rate of $700 is

excessive.    Perhaps this is because M&T Bank’s own expert

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charged an even higher hourly rate of $750. (Lane Dec. Ex. A.)

It also bears mentioning that the Bank does not make a specific

recommendation to the Court regarding Considine’s fees; it asks

only that “the Court reduce the total expert fees recoverable.”

(Lane Dec. ¶ 16.)

     At the outset, the Court observes that Considine’s invoice

contains two discrepancies, which have apparently gone unnoticed

by the parties.   Both the very first and the very last entries

state “No charge” in the total column, suggesting that Considine

performed the work described in those entries without the

expectation of payment.     But the subtotal and balance on the

bottom of the invoice reflect that St. Paul was indeed charged

for both of these entries.     The Court assumes that this $1,330

discrepancy is error rather than deceit, and subtracts that

amount from the $62,860 subtotal to arrive at a maximum possible

award of $61,530.

     The Court now turns to the factors to be considered in

gauging the reasonableness of the requested award.         First, there

is no dispute that the issues raised in this litigation were

moderately complex, concerning “the correct interpretation and

application of FINRA and New York Insurance regulations

pertaining to fidelity insurance policies,” among other more

common issues. (Mills Dec. ¶ 26.)       Considine’s education and

experience made him well qualified as an expert in this matter.

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He has both a law degree and an undergraduate degree in business

administration, and his relevant experience includes service as

a Commissioner in the New Jersey Department of Banking and

Insurance, as well as over sixteen years in various roles at

Metropolitan Life Insurance Company.       As to the prevailing rates

of comparable experts, St. Paul offers only that M&T Bank’s own

expert charged $750 per hour, which is $50 per hour higher than

the rate Considine billed to St. Paul.

     Although Considine’s hourly rate is marginally lower than

Corcoran’s, M&T Bank points out that Considine billed about 50

percent more to write one expert report than Corcoran billed to

write two. (Lane Dec. ¶¶ 14–15.)        This is true enough, but not

particularly compelling.     First, the Court observes that

Corcoran’s two reports together total only fifteen pages,

whereas Considine’s single report is thirty-one pages.          To be

sure, quantity does not necessarily confer quality, and a

concise expert report may well be persuasive.        Corcoran’s

reports, however, were not. See St. Paul Mercury Ins. Co., 2014

WL 641438, at *7; id. at *9.      The Court therefore finds the

Bank’s comparison to be of limited use.       Brevity may be the soul

of wit, but another cliché proves truer in this case:          you get

what you pay for.

     The Court nevertheless concludes that $61,530 is an

unreasonable fee for the preparation of a single expert report

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in this matter.   In so concluding, the Court observes that

Considine’s hourly rate is more than three times higher than

that of the lead partner handling this case for St. Paul,

Richard S. Mills. (Mills Dec. ¶ 9.) See Matteo, 2012 WL 5177491,

at *6 (declining to award higher hourly rate for expert than for

lead attorney absent “truly compelling” showing); cf. Arbor

Hill, 522 F.3d at 190 (“The reasonable hourly rate is the rate a

paying client would be willing to pay.”).        Indeed, St. Paul has

not cited any cases from this district wherein an expert was so

handsomely compensated, and this Court is aware of none.

     Moreover, Considine’s invoice indicates that he expended

nearly eighty-eight hours preparing the report, including over

twelve hours spent on dictation alone.       A review of the invoices

prepared by St. Paul’s counsel reveals that eighty-eight hours

is more time than Mills (the lead partner) spent on the summary

judgment briefs themselves.     Because St. Paul has not

demonstrated the reasonableness both of Considine’s hourly rate

and the amount of time billed, the Court determines that it is

appropriate to reduce St. Paul’s request by 30 percent. See,

e.g., Penberg v. HealthBridge Mgmt., No. 08 Civ. 1534, 2011 WL

1100103, at *15 (E.D.N.Y. Mar. 22, 2011) (15 percent reduction);

Watson v. E.S. Sutton, Inc., No. 02 Civ. 2739, 2007 WL 2245432,

at *3 (S.D.N.Y. Aug. 3, 2007) (50 percent reduction).          M&T Bank



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must therefore reimburse St. Paul $43,071 for the cost of

retaining and utilizing Considine’s services.

             B.    Costs and Fees Incurred by Liftman

     St. Paul also seeks reimbursement of $99,028.17 it paid to

Liftman’s counsel, Adler Pollock & Sheehan P.C., to defend

Liftman against M&T Bank’s third-party action for

indemnification.   St. Paul and Liftman assert in their

attorney’s declarations that the agency agreement between them

calls for St. Paul to indemnify Liftman for fees and expenses

incurred in connection with Liftman’s services. (Mills Dec.

¶ 36; Lawler Dec. ¶ 7.)    However, neither St. Paul nor Liftman

supplied the Court with a copy of that agency agreement on March

6, 2014, the date that all relevant records were due.         The

agreement was not filed until March 28, after M&T Bank argued in

its opposition declaration that the agreement’s absence doomed

the request. (Lane Dec. ¶ 11 (“Counsel’s description of an out-

of-court document is clearly inadmissible hearsay and is

patently insufficient to satisfy St. Paul’s burden to clearly

establish its right to indemnity for Liftman’s costs.”).)           The

Bank also notes that neither the GCI nor this Court’s February

19 Opinion specifically contemplate the requested reimbursement.

     Indemnification clauses should be read to implement the

parties’ intentions, and must be strictly construed to avoid

inferring duties that they did not intend to create. Bank of New

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York Trust Co., N.A. v. Franklin Advisers, Inc., 726 F.3d 269,

283–84 (2d Cir. 2013) (citing Oscar Gruss & Son Inc. v.

Hollander, 337 F.3d 186, 199 (2d Cir. 2003)); accord Levine v.

Shell Oil Co., 269 N.E.2d 799, 801–02 (N.Y. 1971).         In New York,

“[a]n indemnification agreement will not be read to impose

obligations upon the indemnitor which are neither disclosed at

the time of its execution nor reasonably within the scope of its

terms and the overall intendment of the parties at the time of

its making.” Tokyo Tanker Co. Ltd. v. Etra Shipping Corp., 536

N.Y.S.2d 75, 76 (1st Dep’t 1989).

     Here, the Court agrees with M&T Bank that St. Paul’s

request for reimbursement of Liftman’s attorney’s fees must be

denied.   Most important, the relevant language in the GCI is

completely silent as to the costs and fees of St. Paul’s agents.

St. Paul urges that the GCI’s reference to “loss, cost and

expense” allows for such recovery.      However, such broad language

does not suffice to demonstrate that the parties intended for

the Bank to reimburse Liftman for its attorney’s fees. Cf. Zissu

v. Bear, Stearns & Co., 805 F.2d 75, 79 (2d Cir. 1986).

Moreover, New York courts have cautioned that the language of an

indemnity provision “should not be extended to include damages

which are neither expressly within its terms nor of such

character that it is reasonable to infer that they were intended

to be covered.” Tokyo Tanker Co., 536 N.Y.S.2d at 77–78 (quoting

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Niagara Frontier Transp. Auth. v. Tri-Delta Constr. Corp., 487

N.Y.S.2d 428, 431 (4th Dep’t), aff’d, 65 N.Y.2d 1038 (1985)).

Here, St. Paul has presented no evidence that M&T Bank knew or

should have inferred that St. Paul’s agent’s expenses would be

included in the GCI.    Nor, for that matter, did St. Paul mention

that it sought to recover Liftman’s expenses as well as its own

when it made its prior motion to this Court. See St. Paul

Summary Judgment Moving Br. at 24–25.       Accordingly, the Court

rejects St. Paul’s expansive reading of the GCI and denies the

request.

                   C.    Unspecified, Extant Fees

     Additionally, St. Paul seeks to recover for unspecified

fees incurred in preparing the instant fee application.          Under

New York law, “a general contract provision for the shifting of

attorneys’ fees does not authorize an award of fees for time

spent in seeking the fees themselves.” F.H. Krear & Co. v.

Nineteen Named Trustees, 810 F.2d 1250, 1266 (2d Cir. 1987)

(citing Doyle v. Allstate Ins. Co., 136 N.E.2d 484, 487 (N.Y.

1956)); see Campbell v. Mark Hotel Sponsor, LLC, No. 09 Civ.

9644, 2012 WL 4360011, at *3 (S.D.N.Y. Sept. 13, 2012).          “Of

course, it is possible to contract for such an allowance but, as

it is an agreement contrary to what is usual, specific language

would be needed to show such an agreement.” F.H. Krear, 810 F.2d

at 1267 (citing Swiss Credit Bank v. Int’l Bank, Ltd., 200

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N.Y.S.2d 828, 830–31 (N.Y. Sup. Ct. 1960)); see Banca Della

Svizzera Italiana v. Cohen, 756 F. Supp. 805, 809–10 (S.D.N.Y.

1991).   In this case, the GCI contains no specific language that

would support St. Paul’s request for “fees on fees.” U.S. for

Use of Fid. & Deposit Co. of Md. v. Suffolk Constr. Co., No. 96

Civ. 2413, 2000 WL 10412, at *3 (S.D.N.Y. Jan. 3, 2000).          St.

Paul instead cites Weyant v. Okst, 198 F.3d 311 (2d Cir. 1999),

to support its position.    But that case concerned a fee

application under 42 U.S.C. § 1988, and is therefore inapposite.

St. Paul’s request is therefore denied.

     Finally, St. Paul seeks “any further expenses that may

potentially be incurred (by MDMC and/or Liftman’s counsel)

if/when the Defendant opposes the fee application and/or seeks

to appeal the Court’s February 19, 2014 decision.” (Mills Dec.

¶ 39.)   Because M&T Bank’s opposition occasioned no reply from

St. Paul, that part of the request is denied.        The application

for reimbursement of fees by Liftman’s counsel is denied for the

reasons set forth in Part II.B above.       The request for fees

arising out of any appeal in this matter is denied as premature.




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                            III.   Conclusion

        For the foregoing reasons, judgment is awarded to St. Paul

in the amount of $1,366,279.81, as follows:

         •   Indemnification totaling $868,995.26;

         •   pre-judgment interest totaling $172,620.39;

         •   attorney's fees totaling $276,999.22:

         •   litigation expenses and costs, totaling $4,593.94; and

         •   Considine's fees, limited to $43,071.00.

        The Clerk of Court is respectfully directed to close the

case.


SO ORDERED.

Dated:
                   n '
             New York, New York
             April        2014




                                         United States District Judge




                                   14
